Filed 06/15/18                                             Case 18-20365                                                              Doc 72


                                          81,7(' 67$7(6 %$1.5837&< &2857
                                           ($67(51 ',675,&7 2) &$/,)251,$


    Name of Debtor: Radhey Shyam                                                 Case No. 18-20365
                          Lilliam Shyam




    Last four digits of Soc. Sec. No.: 8473
    Last four digits of Soc. Sec. No.: 7238

                                                       $0(1'(' &+$37(5  3/$1 RI JUNE 15 

                                                          6HFWLRQ  1RWLFHV

        8VH RI WKLV IRUP LV PDQGDWRU\ The Bankruptcy Court of the Eastern District of California requires the use of this
             local form chapter 13 plan in lieu of any national form plan.

        1RQVWDQGDUG SURYLVLRQV Any nonstandard provision is in section 7 below. If there are nonstandard provisions
             this box must be checked t. A nonstandard provision will be given no effect unless this section indicates one is
             included in section 7 and it appears in section 7.

        1R DOWHUDWLRQV WR IRUP SODQ SHUPLWWHG Other than to insert text into designated spaces, expand tables to include
             additional claims, or to change the plan title to indicate the date of the plan or that it is a modified plan, the
             preprinted text of this form shall not be altered. No such alteration will be given any effect.

        9DOXDWLRQ RI FROODWHUDO DQG OLHQ DYRLGDQFH UHTXLUHV D VHSDUDWH PRWLRQ The confirmation of this plan will not
             limit the amount of a secured claim based on a valuation of the collateral for the claim, nor will it avoid a security
             interest or lien. This relief requires a separate claim objection, valuation motion, or lien avoidance motion that is
             successfully prosecuted in connection with the confirmation of this plan.

        6HSDUDWH QRWLFH RI FRQILUPDWLRQ KHDULQJ You will receive a separate notice of the date, time, and location of a
             hearing to confirm this plan and of the deadline to object to its confirmation. In the absence of a timely written
             objection, the plan may be confirmed without a hearing. It will be effective upon its confirmation.

                                           6HFWLRQ  3ODQ 3D\PHQWV DQG 3ODQ 'XUDWLRQ

        0RQWKO\ SODQ SD\PHQWV. To complete this plan, Debtor shall submit to the supervision and control of Trustee on
             a monthly basis the sum of $ 5,556.00 from future earnings. This monthly plan payment is subject to
             adjustment pursuant to section 3.07(b)(2) below and it must be received by Trustee not later than the 25th day of
             each month beginning the month after the order for relief under chapter 13. The monthly plan payment includes all
             adequate protection payments due on Class 2 secured claims.

        2WKHU SD\PHQWV In addition to the submission of future earnings, Debtor will make payment(s) derived from
             property of the bankruptcy estate, property of Debtor, or from other sources, as follows:
                                                                                                                                      .

        'XUDWLRQ RI SD\PHQWV The monthly plan payments will continue for 60 months unless all allowed unsecured
             claims are paid in full within a shorter period of time. If necessary to complete the plan, monthly payments may
             continue for an additional 6 months, but in no event shall monthly payments continue for more than 60 months.

                                                  6HFWLRQ  &ODLPV DQG ([SHQVHV

    $ 3URRIV RI &ODLP

        With the exception of the payments required by sections 3.03, 3.07(b), 3.10, and 4.01, a claim will not be paid
             pursuant to this plan unless a proof of claim is filed by or on behalf of a creditor, including a secured creditor.

        The proof of claim, not this plan or the schedules, shall determine the amount and classification of a claim unless
             the court’s disposition of a claim objection, valuation motion, or lien avoidance motion affects the amount or
            EDC 3-080 (eff. 12-1-17)
            Page 1 of 6
Filed 06/15/18                                              Case 18-20365                                                          Doc 72
             classification of the claim.

        Post-petition amounts due on account of a domestic support obligation, a loan from retirement or thrift savings
             plan, or an executory contract/unexpired lease being assumed, shall be paid by Debtor directly to the person
             entitled to such payments whether or not the plan is confirmed or a proof of claim has been filed.

    % $GPLQLVWUDWLYH ([SHQVHV

        7UXVWHH¶V IHHV Pursuant to 28 U.S.C. § 586(e), Trustee shall receive up to 10% of plan payments, whether made
             before or after confirmation, but excluding direct payments by Debtor on Class 4 claims, executory contracts and
             unexpired leases, and obligations of the kind described in section 3.03.

        'HEWRU¶V DWWRUQH\¶V IHHV Debtor’s attorney was paid $ 0 .00               prior to the filing of the case. Subject to
             prior court approval, additional fees of $ 1,500.00           shall be paid through this plan. Debtor’s attorney will
             seek the court’s approval by [choose one]: t   x complying with Local Bankruptcy Rule 2016-1(c); or t filing and
             serving a motion in accordance with 11 U.S.C. §§ 329 and 330, Fed. R. Bankr. P. 2002, 2016, and 2017 [if neither
             alternative is selected, the attorney shall comply with the latter].

        $GPLQLVWUDWLYH H[SHQVHV In accordance with sections 5.02 and 5.03 below, $ 200.00          of each monthly plan
             payment shall be paid on account of: (a) compensation due a former chapter 7 trustee; (b) approved administrative
             expenses; and (c) approved attorney’s fees. Approved administrative expenses shall be paid in full through this
             plan except to the extent a claimant agrees otherwise or 11 U.S.C. § 1326(b)(3)(B) is applicable.

    & 6HFXUHG &ODLPV

        &ODVV  LQFOXGHV DOO GHOLQTXHQW VHFXUHG FODLPV WKDW PDWXUH DIWHU WKH FRPSOHWLRQ RI WKLV SODQ LQFOXGLQJ
             WKRVH VHFXUHG E\ 'HEWRU¶V SULQFLSDO UHVLGHQFH

             D &XUH RI GHIDXOWV All arrears on Class 1 claims shall be paid in full by Trustee. The equal monthly installment
             specified in the table below as the “arrearage dividend” shall pay the arrears in full.

                        Unless otherwise specified below, interest will accrue at the rate of 0%.

                        The arrearage dividend must be applied by the Class I creditor to the arrears. If this plan provides for
                       interest on the arrears, the arrearage dividend shall be applied first to such interest, then to the arrears.

             E 0DLQWDLQLQJ SD\PHQWV Trustee shall maintain all post-petition monthly payments to the holder of each Class
             1 claim whether or not this plan is confirmed or a proof of claim is filed.

                        Unless subpart (b)(1)(A) or (B) of this section is applicable, the amount of a post-petition monthly
                       payment shall be the amount specified in this plan.

                                $ If the amount specified in the plan is incorrect, the Class 1 creditor may demand the correct
                                amount in its proof of claim. Unless and until an objection to such proof of claim is sustained, the
                                trustee shall pay the payment amount demanded in the proof of claim.

                                % Whenever the post-petition monthly payment is adjusted in accordance with the underlying
                                loan documentation, including changes resulting from an interest rate or escrow account
                                adjustment, the Class 1 creditor shall give notice of the payment change pursuant to Fed. R.
                                Bankr. P. 3002.1(b). Notice of the change shall not be given by including the change in a proof of
                                claim. Unless and until an objection to a notice of payment change is sustained, the trustee shall
                                pay the amount demanded in the notice of payment change.

                        If a Class 1 creditor files a proof of claim or a notice of payment change pursuant to Fed. R. Bankr. P.
                       3002.1(b) demanding a higher or lower post-petition monthly payment, the plan payment shall be adjusted
                       accordingly.

                        If Debtor makes a partial plan payment that is insufficient to satisfy all post-petition monthly payments
                       due each Class 1 claim, distributions will be made in the order such claims are listed below.

                        Trustee will not make a partial distribution on account of a post-petition monthly payment.

                        If Debtor makes a partial plan payment, or if it is not paid on time, and Trustee is unable to make
                       timely a post-petition monthly payment, Debtor’s cure of this default shall include any late charge.


            EDC 3-080 (eff. 12-1-17)
            Page 2 of 6
Filed 06/15/18                                             Case 18-20365                                                            Doc 72
                        If the holder of a Class 1 claim gives Debtor and Trustee notice of post-petition fees, expenses, and
                       charges pursuant to Fed. R. Bankr. P. 3002.1(c), Debtor shall modify this plan if Debtor wishes to provide
                       for such fees, expenses, and charges.

                        Post-petition monthly payments made by Trustee and received by the holder of a Class 1 claim shall
                       be applied as if the claim was current and no arrearage existed on the date the case was filed.

             F 1R FODLP PRGLILFDWLRQ DQG OLHQ UHWHQWLRQ Each Class 1 creditor shall retain its lien. Other than to cure of
             arrears, this plan does not modify Class 1 claims.


                    &ODVV  &UHGLWRU¶V 1DPH               $PRXQW RI $UUHDUV    ,QWHUHVW 5DWH         $UUHDUDJH    3RVW3HWLWLRQ
                     &ROODWHUDO 'HVFULSWLRQ                                      RQ $UUHDUV           'LYLGHQG    0RQWKO\ 3D\PHQW

     1.   Wells Fargo Home Mortgage                         $36,000.00               0%               $625.14      $2,133.36
     2.

     3.

     4.

                                                                                          Totals: $   625.14       $   2,133.36

        &ODVV  LQFOXGHV DOO VHFXUHG FODLPV WKDW DUH PRGLILHG E\ WKLV SODQ RU WKDW KDYH PDWXUHG RU ZLOO PDWXUH
             EHIRUH WKH SODQ LV FRPSOHWHG

             D 3D\PHQW RI FODLP Subject to section 3.08(c), the “monthly dividend” payable to each Class 2A and 2B claim
             is an equal monthly payment sufficient to pay each claim in full with interest at the rate specified below. If no
             interest rate is specified, a 5% rate will be imputed.

             E $GHTXDWH SURWHFWLRQ SD\PHQWV Prior to confirmation, Trustee shall pay on account of each Class 2(A) and
             2(B) claim secured by a purchase money security interest in personal property an adequate protection payment if
             required by section 1326(a)(1)(C). The adequate protection payment shall equal the monthly dividend. Adequate
             protection payments shall be disbursed by Trustee in connection with the customary month-end disbursement
             cycle beginning the month after the case was filed. If a Class 2 claimant is paid an adequate protection payment,
             that claimant shall not be paid a monthly dividend for the same month.

             F &ODLP DPRXQW The amount of a Class 2 claim is determined by applicable nonbankruptcy law. However,
             except as noted below, Debtor may reduce the claim amount to the value of the collateral securing it by filing,
             serving, setting for hearing, and prevailing on a motion to determine the value of that collateral. If this plan
             proposes to reduce a claim based upon the value of its collateral, the failure to successfully prosecute a valuation
             motion in conjunction with plan confirmation may result in the denial of confirmation.

                        &ODVV  FODLPV WKDW FDQQRW EH UHGXFHG EDVHG RQ YDOXH RI FROODWHUDO Debtor is prohibited from
                       reducing a claim if the claim holder has a purchase money security interest and the claim either was
                       incurred within 910 days of the filing of the case and is secured by a motor vehicle acquired for the
                       personal use of Debtor, or was incurred within 1-year of the filing of the case and is secured by any other
                       thing of value. These claims must be included in Class 2(A).

                        &ODVV  FODLPV WKDW PD\ EH UHGXFHG EDVHG RQ WKH YDOXH RI WKHLU FROODWHUDO shall be included in
                       Class 2(B) or 2(C) as is appropriate.

                        &ODVV  FODLPV VHFXUHG E\ 'HEWRU¶V SULQFLSDO UHVLGHQFH Except as permitted by 11 U.S.C. §
                       1322(c), Debtor is prohibited from modifying the rights of a holder of a claim secured only by Debtor’s
                       principal residence.

             G /LHQ UHWHQWLRQ Each Class 2 creditor shall retain its existing lien until completion of the plan and, unless not
             required by Bankruptcy Court, entry of Debtor’s discharge.




            EDC 3-080 (eff. 12-1-17)
            Page 3 of 6
Filed 06/15/18                                                    Case 18-20365                                                                    Doc 72
     &ODVV  &UHGLWRU¶V QDPH DQG                        3XUFKDVH PRQH\        $PRXQW FODLPHG          9DOXH RI         ,QWHUHVW      0RQWKO\
     GHVFULSWLRQ RI FROODWHUDO                         VHFXULW\ LQWHUHVW LQ     E\ FUHGLWRU          FUHGLWRU¶V          5DWH        'LYLGHQG
                                                       SHUVRQDO SURSHUW\"                          LQWHUHVW LQ LWV
                                                            <(612                                   FROODWHUDO

     &ODVV $ FODLPV DUH QRW UHGXFHG EDVHG RQ
     YDOXH RI FROODWHUDO

     1.

     2.

     3.

                                                                                                                           Total $



     &ODVV % FODLPV DUH UHGXFHG EDVHG RQ
     YDOXH RI FROODWHUDO

     1.

     2.

     3.

                                                                                                                           Total $


     &ODVV & DUH FODLPV UHGXFHG WR  EDVHG
     RQ YDOXH RI FROODWHUDO

     1.                                                                                                       $0.00           0             $0.00

     2.                                                                                                       $0.00           0             $0.00

                                                                                                                        Total $              $0.00


        &ODVV  LQFOXGHV DOO VHFXUHG FODLPV VDWLVILHG E\ WKH VXUUHQGHU RI FROODWHUDO

                     Class 3 Creditor’s Name/Collateral Description                  Estimated Deficiency        Is Deficiency a Priority Claim?
                                                                                                                            YES/NO

     1.

     2.


        &ODVV  LQFOXGHV DOO VHFXUHG FODLPV SDLG GLUHFWO\ E\ 'HEWRU RU WKLUG SDUW\ Class 4 claims mature after the
             completion of this plan, are not in default, and are not modified by this plan. These claims shall be paid by Debtor
             or a third person whether or not a proof of claim is filed or the plan is confirmed.

                &ODVV  &UHGLWRU¶V 1DPH&ROODWHUDO 'HVFULSWLRQ                0RQWKO\ &RQWUDFW ,QVWDOOPHQW           3HUVRQ 0DNLQJ 3D\PHQW

     1.

     2.


        %DQNUXSWF\ VWD\V

             D Upon confirmation of the plan, the automatic stay of 11 U.S.C. § 362(a) and the co-debtor stay of 11 U.S.C. §
             1301(a) are (1) terminated to allow the holder of a Class 3 secured claim to exercise its rights against its collateral;
             (2) modified to allow the holder of a Class 4 secured claim to exercise its rights against its collateral and any
             nondebtor in the event of a default under applicable law or contract; and (3) modified to allow the nondebtor party
             to an unexpired lease that is in default and rejected in section 4 of this plan to obtain possession of leased
             property, to dispose of it under applicable law, and to exercise its rights against any nondebtor.

             E Secured claims not listed as Class 1, 2, 3, or 4 claims are not provided for by this plan. While this may be
             cause to terminate the automatic stay, such relief must be separately requested by the claim holder.

             F If, after confirmation of the plan, the court grants a motion to terminate the automatic stay to permit a Class 1 or
            EDC 3-080 (eff. 12-1-17)
            Page 4 of 6
Filed 06/15/18                                              Case 18-20365                                                                  Doc 72
             2 claim holder to proceed against its collateral, unless the court orders otherwise, Trustee shall make no further
             payments on account of such claim and any portion of such claim not previously satisfied under this plan shall be
             satisfied as a Class 3 claim. Any deficiency remaining after the creditor’s disposition of its collateral shall be
             satisfied as a Class 7 unsecured claim subject to the filing of a proof of claim.

    ' 8QVHFXUHG &ODLPV

        3ULRULW\ FODLPV Class 5 consists of unsecured claims entitled to priority pursuant to 11 U.S.C. § 507, such as
             taxes, approved administrative expenses, and domestic support obligations.

             (a) Priority claims other than domestic support obligations will be paid in full except to the extent the claim holder
             has agreed to accept less. When the claim holder has agreed to accept less than payment in full, the claim holder
             and the treatment of the claim shall be specified in section 7, the Nonstandard Provisions.

             (b) Priority claims that are domestic support obligation shall be paid in full except to the extent 11 U.S.C. §
             1322(a)(4) is applicable. When section 1322(a)(4) is applicable, the claim holder and the treatment of the claim
             shall be specified in section 7, the Nonstandard Provisions.

             (c) Debtor estimates that all priority claims, not including those identified in section 7, total $                    .

        &ODVV  LQFOXGHV GHVLJQDWHG QRQSULRULW\ XQVHFXUHG FODLPV, such as co-signed unsecured debts, that will be
             treated differently than the other nonpriority unsecured claims provided for in Class 7. The claim holder of each
             Class 6 claim and the treatment of each claim shall be specified in section 7, the Nonstandard Provisions.

        &ODVV  FRQVLVWV RI DOO RWKHU QRQSULRULW\ XQVHFXUHG FODLPV not provided for in Class 6. These claims will
             receive no less than a      100        % dividend. These claims, including the under-collateralized portion of
             secured claims not entitled to priority, total approximately $ $136,044.97 .

                                       6HFWLRQ  ([HFXWRU\ &RQWUDFWV $QG 8QH[SLUHG /HDVHV

        Debtor assumes the executory contracts and unexpired leases listed below. Debtor shall pay directly to the other
             party to the executory contract or unexpired lease, before and after confirmation of this plan and whether or not a
             proof of claim is filed, all post-petition monthly payments required by the lease or contract. Unless a different
             treatment is required by 11 U.S.C. § 365(b)(1) and is set out in section 7, the Nonstandard Provisions, pre-petition
             arrears shall be paid in full. Trustee shall pay the monthly dividend specified in the table below on account of
             those arrears.

        Any executory contract or unexpired lease not listed in the table below is rejected.

      1DPH RI 2WKHU 3DUW\ WR ([HFXWRU\ &RQWUDFW 8QH[SLUHG /HDVH    3RVW3HWLWLRQ 0RQWKO\   3UHSHWLWLRQ $UUHDUV      $UUHDUDJH 'LYLGHQG
                                                                          3D\PHQW

     1.

     2.

                                                                                                            Total $


                                       6HFWLRQ  3D\PHQW RI &ODLPV DQG 2UGHU RI 'LVWULEXWLRQ

        After confirmation, payments by Trustee to holders of allowed claims and approved expenses will be made
             monthly.

        'LVWULEXWLRQ RI SODQ SD\PHQW

             (a) At a minimum, each monthly plan payment must be sufficient to pay in full: (i) Trustee's fees; (ii) post-petition
             monthly payments due on Class 1 claims; (iii) the monthly dividend specified in section 3.06 for administrative
             expenses; and (iv) the monthly dividends payable on account of Class 1 arrearage claims, Class 2 claims, and
             executory contract and unexpired lease arrearage claims.

             (b) If the amount paid by Debtor is insufficient to pay all of the minimum dividends required by section 5.02(a),
             Trustee shall pay, to the extent possible, such fees, payments, expenses, and claims in the order specified in
             section 5.02(a)(i) through (iv). If the amount paid by Debtor is insufficient to pay all dividends due on account of
             fees, payments, expenses, and claims within a subpart of section 5.02(a), no dividend shall be paid on account of
             any of the fees, payments, expenses, and claims within such subpart except as permitted by section 3.07(b)(3).
            EDC 3-080 (eff. 12-1-17)
            Page 5 of 6
Filed 06/15/18                                              Case 18-20365                                                           Doc 72
             (c) Each month, if funds remain after payment of all monthly dividends due on account of the fees, payments,
             expenses, and claims specified in section 5.02(a)(i) through (iv), the remainder shall be paid pro rata, first to
             holders of Class 1 arrearage claims, Class 2 claims, and executory contract and unexpired lease arrearage claims;
             second to Class 5 priority claims; third to Class 6 unsecured claims; and fourth to Class 7 unsecured claims.

             (d) Over the plan's duration, distributions must equal the total dividends required by sections 3.04, 3.06, 3.07, 3.08,
             3.12, 3.13, 3.14, and 4.01. The case may be dismissed if Debtor's plan payments are or will be insufficient to pay
             these dividends.

        3ULRULW\ RI SD\PHQW DPRQJ DGPLQLVWUDWLYH H[SHQVHV The portion of the monthly plan payment allocated in
             section 3.06 for administrative expenses, shall be distributed first to any former chapter 7 trustee up to the monthly
             amount required by 11 U.S.C. § 1326(b)(3)B), and second to holders of approved administrative expenses on a
             pro rata basis.

                                                6HFWLRQ  0LVFHOODQHRXV 3URYLVLRQV

        9HVWLQJ RI SURSHUW\ Property of the estate [FKRRVH RQH] shall t   x shall not t revest in Debtor upon
             confirmation of the plan. In the event the case is converted to a case under Chapters 7, 11, or 12 of the
             Bankruptcy Code or is dismissed, the property of the estate shall be determined in accordance with applicable law.

        'HEWRU¶V GXWLHV In addition to the duties imposed upon Debtor by the Bankruptcy Code, the Bankruptcy Rules,
             and applicable nonbankruptcy law, the court’s Local Bankruptcy Rules impose additional duties on Debtor,
             including without limitation, obtaining prior court authorization prior to transferring property or incurring additional
             debt, maintaining insurance, providing Trustee copies of tax returns, W-2 forms, 1099 forms, and quarterly
             financial information regarding Debtor’s business or financial affairs, and providing Trustee not later than the 14
             days after the filing of the case with the Domestic Support Obligation Checklist for each domestic support
             obligation and a Class 1 Checklist and Authorization to Release Information for each Class 1 claim.

        3RVW3HWLWLRQ FODLPV If a proof of claim is filed and allowed for a claim of the type described in 11 U.S.C. §
             1305(a), this plan may be modified to provide for such claim.

        5HPHGLHV XSRQ GHIDXOW If Debtor defaults under this plan, or if the plan will not be completed within six months
             of its stated term, not to exceed 60 months, Trustee or any other party in interest may request appropriate relief by
             filing a motion and setting it for hearing pursuant to Local Bankruptcy Rule 9014-1. This relief may consist of,
             without limitation, dismissal of the case, conversion of the case to chapter 7, or relief from the automatic stay to
             pursue rights against collateral.

                                                 6HFWLRQ  1RQVWDQGDUG 3URYLVLRQV

    Debtor may propose nonstandard provisions that modify the preprinted text of this form plan. All nonstandard plan
    provisions shall be on a separate piece of paper appended to this plan. Each nonstandard provision shall be identified by
    a section number beginning with section 7.01 and indicate which section(s) of the form plan are modified by the
    nonstandard provision. Nonstandard provisions placed elsewhere are void. The signatures below are certifications by
    Debtor and Debtor’s attorney that this plan form has not been altered and that all nonstandard provisions are in section 7.

    Dated: 6/15/2018                                                    /s/ Radhey Shyam
                                                                 Debtor Radhey Shyam


    Dated: 6/15/2018                                                    /s/ Lilliam Shyam
                                                                 Debtor Lilliam Shyam


           4/28/2018
    Dated: 6/15/2018                                                               /s/ Evan Livingstone
                                                                 Debtor’s Attorney Evan Livingstone




            EDC 3-080 (eff. 12-1-17)
            Page 6 of 6
